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15                                  UNITED STATES DISTRICT COURT
16                                EASTERN DISTRICT OF CALIFORNIA
17
18   RALPH COLEMAN,                                        )    No.: Civ S 90-0520 LKK-JFM
                                                           )
19          Plaintiffs,                                    )    PLAINTIFFS’ NOTICE OF MOTION
                                                           )    AND MOTION RE: 1) POST-
20   vs.                                                   )    JUDGMENT DISCOVERY AND 2)
                                                           )    PRODUCTION OF COPIES OF TOUR
21   ARNOLD SCHWARZENEGGER, et al.,                        )    BINDERS AND DOCUMENTS
                                                           )
22          Defendants                                     )                       HEARING
                                                           )
23                                                         )    DATE:                   August 17, 2006
                                                           )    TIME:                   11:00 a.m.
24                                                         )    COURTROOM:              25
                                                           )
25                                                         )    THE HONORABLE JOHN F. MOULDS
                                                           )
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       PLAINTIFFS’ NOTICE OF MOTION AND MOTION RE: 1) POST-JUDGMENT DISCOVERY AND 2) PRODUCTION OF COPIES OF TOUR
                                    BINDERS AND DOCUMENTS, NO.: CIV S 90-0520 LKK-JFM
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 1                                               NOTICE OF MOTION
 2          TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE THAT on August 17, 2006, Plaintiffs, through their counsel
 4   of record, will and hereby do move for an order (1) confirming their right to post-judgment
 5   discovery and (2) for production to Plaintiffs of copies of the tour binders and monitoring
 6   documents provided by Defendants to the Special Master.
 7          This Motion is based on this Notice of Motion and Motion, the Memorandum of Points
 8   and Authorities filed herewith, the Declaration of Jane Kahn in Support of this Motion, the
 9   pleadings and orders on file in the above-captioned matter, and any oral argument or evidence
10   permitted at any hearings on this motion.
11
12   Dated: July 13, 2006                                    Respectfully submitted,
13                                                           /s/ Jane Kahn________
14                                                           Jane E. Kahn
                                                             Rosen, Bien & Asaro
15                                                           Attorneys for Plaintiffs
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       PLAINTIFFS’ NOTICE OF MOTION AND MOTION RE: 1) POST-JUDGMENT DISCOVERY AND 2) PRODUCTION OF COPIES OF TOUR
                                    BINDERS AND DOCUMENTS, NO.: CIV S 90-0520 LKK-JFM
